









Dismissed and Memorandum Opinion filed September 11, 2003









Dismissed and Memorandum Opinion filed September 11,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00918-CR

____________

&nbsp;

RANDY LEE SMITH, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 174th District Court

Harris County, Texas

Trial Court Cause No. 926,897

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a nolo contendere plea to the offense of possession of cocaine on
July 21, 2003.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant to twelve years= confinement in the Texas Department of Criminal Justice B Institutional Division.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed September 11, 2003.

Panel consists of Justices
Edelman, Frost, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





